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                                       IN THE
                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)

JANE DOE,                                          )
                                                   )
               Plaintiff,                          )
                                                   )
v.                                                 )
                                                   )   Civil Action No. 1:19-cv-00917
FAIRFAX COUNTY SCHOOL BOARD, et                    )
al.,                                               )
                                                   )
               Defendants.                         )
                                                   )

       NOTICE JOINING IN MOTION TO STRIKE AMENDED COMPLAINT

       Defendants Sybil Terry, August Fratalli, Philip A. Hudson, Tamara B. Ballou, Brenda

Humphrey, Monique Patwary-Faruque, Megan Carr, Francis Tarrant, and Joanne Fraundorfer,

by their counsel, provide this notice confirming that they join Defendant Fairfax County School

Board in its Motion to Strike Amended Complaint (ECF 42) and Brief in Support of Motion to

Strike Amended Complaint (ECF 44) and that they endorse both the relief requested in the

Motion as well as the reasons set forth in the Brief in Support of the Motion to Strike.

                                              SYBIL TERRY, AUGUST FRATALLI, PHILIP
                                              A. HUDSON, TAMARA B. BALLOU, BRENDA
                                              HUMPHREY, MONIQUE PATWARY-
                                              FARUQUE, MEGAN CARR, FRANCIS
                                              TARRANT, JOANNE FRAUNDORFER



By:                /s/
Michael E. Kinney (VSB #65056)
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                                    CERTIFICATE OF SERVICE

           I certify that on December 2, 2019, I will electronically file a copy of the attached

NOTICE JOINING IN MOTION TO STRIKE AMENDED COMPLAINT using the

CM/ECF system, which will send a notification of such filing (NEF) to counsel of record for all

Parties.



                                                                /s/
                                                  Michael E. Kinney (VSB #65056)




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